19-13214-shl    Doc 5    Filed 10/08/19    Entered 10/08/19 12:39:35   Main Document
                                          Pg 1 of 16


 GIBSON, DUNN & CRUTCHER LLP
 Matthew J. Williams
 Mitchell A. Karlan
 Alan Moskowitz
 Dylan S. Cassidy
 200 Park Avenue
 New York, NY 10166
 (212) 351-4000 (Tel)
 (212) 351-4035 (Fax)

 Counsel to the Foreign Representative

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

 In re:

 PT DELTA MERLIN DUNIA TEXTILE,                  Chapter 15

                                                 Case No. 19-_____

               Debtor in a Foreign Proceeding.


 In re:

 PT DELTA DUNIA TEKSTIL,                         Chapter 15

                                                 Case No. 19-_____
               Debtor in a Foreign Proceeding.



 In re:

 PT DELTA MERLIN SANDANG TEKSTIL,                Chapter 15

                                                 Case No. 19-_____
               Debtor in a Foreign Proceeding.




                                             1
19-13214-shl       Doc 5    Filed 10/08/19    Entered 10/08/19 12:39:35       Main Document
                                             Pg 2 of 16



 In re:

 PT DELTA DUNIA SANDANG TEKSTIL,
                                                     Chapter 15

                                                     Case No. 19-__________
                  Debtor in a Foreign Proceeding.



 In re:

 PT DUNIA SETIA SANDANG ASLI                         Chapter 15
 TEKSTIL,
                                                     Case No. 19-_____


                  Debtor in a Foreign Proceeding.



 In re:

 PT PERUSAHAAN DAGANG DAN
 PERINDUSTRIAN DAMAI,                                Chapter 15

                                                     Case No. 19-_____

                  Debtor in a Foreign Proceeding.



 In re:

 SUMITRO,                                            Chapter 15

                                                     Case No. 19-_____
                  Debtor in a Foreign Proceeding.


 MOTION FOR ENTRY OF AN ORDER DIRECTING JOINT ADMINISTRATION OF
             THE ABOVE-CAPTIONED CHAPTER 15 CASES


          Geoffrey David Simms, in his capacity as the duly authorized foreign representative (the

“Foreign Representative”) of PT Delta Merlin Dunia Textile (“DMDT”) and its affiliated debtors

                                                 2
19-13214-shl     Doc 5    Filed 10/08/19    Entered 10/08/19 12:39:35        Main Document
                                           Pg 3 of 16


in a foreign proceeding (collectively, the “Foreign Debtors”) in connection with their foreign

proceedings pending in the Semarang Commercial Court (the “Indonesian Court”), pursuant to

Law No. 37 of 2004 regarding Bankruptcy and Suspension of Debt Payment Obligations

(collectively, the “PKPU Proceedings”), by and through his undersigned counsel, respectfully

submits this motion (the “Motion”) for entry of an order, substantially in the form annexed hereto

as Exhibit A (the “Proposed Order”), pursuant to section 105(a) of title 11 of the United States

Code (the “Bankruptcy Code”), 11 U.S.C. §§ 101-1532, and Rule 1015(b) of the Federal Rules of

Bankruptcy Procedures (the “Bankruptcy Rules”), authorizing the joint administration of the

Foreign Debtors’ above-captioned chapter 15 cases (the “Chapter 15 Cases”) for procedural

purposes only. In support of the Motion, the Foreign Representative respectfully refers the Court

to the Verified Petition Under Chapter 15 for Recognition of a Foreign Main Proceeding (the

“Verified Petition”) which is being filed contemporaneously herewith and is incorporated herein

by reference. In further support of the Motion, the Foreign Representative respectfully states as

follows:

                                JURISDICTION AND VENUE

       1.      These Chapter 15 Cases have been properly commenced pursuant to 11 U.S.C. §

1504 by the filing of petitions for recognition of the PKPU Proceedings pursuant to 11 U.S.C. §

1515 of the Bankruptcy Code.

       2.      The Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157

and 1334, section 1501 of the Bankruptcy Code, and the Amended Standing of Reference Re: Title




                                                3
19-13214-shl     Doc 5    Filed 10/08/19    Entered 10/08/19 12:39:35        Main Document
                                           Pg 4 of 16


11, 12 Misc. 00032 (S.D.N.Y. Feb. 2, 2012) (Preska, C.J.). This is a core proceeding pursuant to

28 U.S.C. ︹157(b)(2)(P). Venue is proper pursuant to 28 U.S.C. § 1410.

       3.      The statutory predicates for the relief requested herein are sections 105(a) of the

Bankruptcy Code and Rule 1015(b) of the Bankruptcy Rules.

                                   BACKGROUND

       4.      On September 11, 2019, PT Shine Golden Bridge, a creditor of the Foreign Debtors,

filed an involuntary application (the “Duniatex Group PKPU Application”) to commence a PKPU

proceeding against (i) DMDT, (ii) PT Delta Dunia Tekstil (“DDT”), (iii) PT Dunia Setia Sandang

Asli Tekstil (“DSSAT”), (iv) PT Delta Merlin Sandang Tekstil (“DMST”), (v) PT Delta Dunia

Sandang Tekstil (“DDST”), and (vi) PT Perusahaan Dagang dan Perindustrian Damai

(“Damaitex,” and collectively with DMDT, DDT, DSSAT, DMST, and DDST, the “Duniatex

Group”) in the Indonesian Court (the “Duniatex Group PKPU”).

       5.      On September 25, 2019, Mr. Sumitro, the beneficial owner and controlling

shareholder of the Duniatex Group, filed a voluntary application (the “Sumitro PKPU

Application”) to commence an individual PKPU proceeding in the Indonesian Court (the “Sumitro

PKPU”).

       6.      On September 30, 2019, the Indonesian Court issued (i) an order granting the

Duniatex Group PKPU Application (the “Duniatex Group PKPU Order”) and (ii) an order

granting the Sumitro PKPU Application (the “Sumitro PKPU Order,” and together with the

Duniatex Group PKPU Order, the “PKPU Orders”).

       7.      The Duniatex Group PKPU and Sumitro PKPU are separate PKPU proceedings,

however, for efficiency the two PKPU Proceedings are intended to effectively be jointly




                                                4
19-13214-shl      Doc 5     Filed 10/08/19     Entered 10/08/19 12:39:35          Main Document
                                              Pg 5 of 16


administered in Indonesia and the Foreign Debtors expect to propose a restructuring plan in

Indonesia covering both PKPU Proceedings.

        8.      The Foreign Representative respectfully refers the Court to the Verified Petition,

which contains the additional relevant facts and circumstances regarding the commencement of

these Chapter 15 Cases in relation to the PKPU Proceedings.

                                      RELIEF REQUESTED

        9.      Pursuant to Rule 1015(b) of the Bankruptcy Rules, the Foreign Representative

respectfully requests the immediate entry of an order providing for the joint administration of the

Chapter 15 Cases for procedural purposes only. In particular, the Foreign Representative requests

that the Court provide for joint administration by: (a) establishing a joint docket and file for the

Chapter 15 Cases; (b) approving the filing of a joint pleadings caption; (c) approving combined

notices to creditors and other parties in interest, as applicable; and (d) directing an entry to be made

on the dockets of: In re PT Delta Merlin Dunia Textile; In re PT Delta Dunia Tekstil; In re PT

Delta Merlin Sandang Tekstil; In re PT Delta Dunia Sandang Tekstil; In re PT Dunia Setia Sandang

Asli Tekstil; In re PT Perusahaan Dagang dan Perindustrian Damai; and In re Sumitro, to reflect

the joint administration of the Chapter 15 Cases.


                               BASIS FOR RELIEF REQUESTED

A.      The Foreign Debtors are Affiliates Under Federal Bankruptcy Rule 1015(b)

        10.     Bankruptcy Rule 1015(b) provides that, if two or more petitions are pending in the

same court by or against a debtor and an affiliate, “the court may order a joint administration of

the estates.” Fed. R. Bankr. P. 1015(b). Section 101(2) of the Bankruptcy Code defines “affiliate”

to mean, among other things:




                                                   5
19-13214-shl     Doc 5    Filed 10/08/19     Entered 10/08/19 12:39:35         Main Document
                                            Pg 6 of 16


               [an] entity that directly or indirectly owns, controls, or holds with
               power to vote, 20 percent or more of the outstanding voting
               securities of the debtor . . . [or] [a] corporation 20 percent or more
               of whose outstanding voting securities are directly or indirectly
               owned, controlled, or held with power to vote, by the debtor, or by
               an entity that directly or indirectly owns, controls, or holds with
               power to vote, 20 percent or more of the outstanding voting
               securities of the debtor . . . .

11 U.S.C. § 101(2).

       11.     Joint administration of the Foreign Debtors’ cases is warranted because (a) the

Foreign Representative has filed an Official Form 401 (Chapter 15 Petition for Recognition of a

Foreign Proceeding) (the “Petitions”) with respect to each of the Foreign Debtors and (b) as

provided in the Petitions, each Foreign Debtor is an “affiliate” of one or more other Foreign

Debtors under section 101(2) of the Bankruptcy Code. Additionally, joint administration pursuant

to Bankruptcy Rule 1015(b) is not limited to plenary cases, and the requested relief will promote

the efficient administration of these Chapter 15 Cases, one of the stated purposes of chapter 15.

See 11 U.S.C. § 1501(a)(3).

       12.     Courts have routinely granted joint administration of interrelated Chapter 15 Cases

based on Bankruptcy Rule 1015(b). See, e.g., In re EuropaCorp S.A., No. 19-11587 (MEW)

(Bankr. S.D.N.Y. May 20, 2019); In re OAS S.A., No. 15-10937 (SMB) (Bankr. S.D.N.Y. Apr. 16,

2015); In re Aralco S.A. – Indústria e Comércio, No. 15-10419 (MKV) (Bankr. S.D.N.Y. Feb. 27,

2015); In re Cline Mining Corp., No. 14-26132 (EEB) (Bankr. D. Colo. Dec. 4, 2014); In re Essar

Steel Algoma Inc., No. 14-11730 (BLS) (Bankr. D. Del. July 17, 2014); In re Cinram Int’l Inc.,

No. 12-11882 (KJC) (Bankr. D. Del. June 26, 2012). As such, the Court has the authority to enter

the proposed order pursuant to Bankruptcy Rule 1015(b).

       13.     In addition, the Foreign Representative submits that the relief requested herein is

available pursuant to section 105(a) of the Bankruptcy Code. Section 105(a) of the Bankruptcy


                                                 6
19-13214-shl       Doc 5   Filed 10/08/19     Entered 10/08/19 12:39:35        Main Document
                                             Pg 7 of 16


Code, made applicable in Chapter 15 Cases pursuant to section 103(a) of the Bankruptcy Code,

permits this Court to “issue any order, process, or judgment that is necessary or appropriate to

carry out the provisions of [the Bankruptcy Code].” 11 U.S.C. § 105(a). See In re Select Tree

Farms, Inc., 483 B.R. 595, 597 (Bankr. W.D.N.Y. 2012) (Section 105(a) “empower[s] ‘the

bankruptcy court to exercise its equitable powers . . . to facilitate the implementation of other

Bankruptcy Code provisions.’”) (citing Solow v. Kalikow (In re Kalikow), 602 F. 3d 82, 97 (2nd

Cir. 2010)); In re Fairfield Sentry Ltd., 458 B.R. 665, 691-92 (S.D.N.Y. 2011) (noting that in

chapter 15 cases, a bankruptcy court may enter orders pursuant to section 105(a) only to the extent

consistent with the Bankruptcy Code and the Bankruptcy Rules) (citing Barbieri v. RAJ

Acquisition Corp. (In re Barbieri), 199 F.3d 616 (2d. Cir. 1999)). The relief requested herein is

consistent with and furthers the purpose of the Bankruptcy Code. Therefore, the Court has

additional authority under section 105(a) of the Bankruptcy Code to enter the proposed order

directing the joint administration of these Chapter 15 Cases.

B.      Joint Administration Will Provide Greater Ease of Administration

        14.     The Petitions and the Verified Petition establish that joint administration of these

Chapter 15 Cases is warranted because (a) the Foreign Debtors’ financial affairs and business

operations are closely related, (b) each Foreign Debtor is party to one of the PKPU Proceedings,

which will be effectively jointly administered in Indonesia for procedural purposes, and (c) the

joint administration of the Chapter 15 Cases will ease the administrative burden on this Court and

parties in interest.

        15.     The joint administration of the Chapter 15 Cases will permit the Clerk of the Court

to utilize a single general docket for these cases and combine notices to creditors of the Foreign

Debtors’ respective estates and other parties in interest.      Entering an order directing joint

administration of the Chapter 15 Cases will avoid the need for duplicative notices, opinions,
                                                 7
19-13214-shl      Doc 5    Filed 10/08/19      Entered 10/08/19 12:39:35         Main Document
                                              Pg 8 of 16


motions, applications, and orders, thereby saving time and expense that otherwise would be

required to administer individual cases. Joint administration also will enable parties in each of the

Chapter 15 Cases to receive notice of the various matters pending before the Court in all of these

Chapter 15 Cases. Joint administration will further simplify supervision of the administrative

aspects of the Chapter 15 Cases by the Office of the United States Trustee—a task that would pose

unnecessary burdens absent joint administration.

C.     No Party in Interest Will Be Prejudiced By Virtue of the Relief Requested

       16.     The rights of the respective creditors of the Foreign Debtors will not be adversely

affected by the proposed joint administration of the Chapter 15 Cases because the rights of each

creditor against the respective estates will be preserved. The Motion seeks neither substantive

consolidation of the Foreign Debtors’ estates, nor modification of the relative rights and remedies

of creditors against any of the individual Foreign Debtors. Thus, the substantive rights of parties

in interest will not be prejudiced or otherwise negatively affected by the entry of an order directing

the procedural joint administration of the Chapter 15 Cases.

       17.     For these reasons, the Foreign Debtors submit that the relief requested herein is in

the best interest of the Foreign Debtors, their estates, creditors, and other parties in interest, and,

therefore, should be granted.

       18.     As such, the Foreign Representative respectfully requests that the caption of each

of the Chapter 15 Cases be modified to reflect their joint administration as follows:




                                                  8
19-13214-shl          Doc 5    Filed 10/08/19        Entered 10/08/19 12:39:35              Main Document
                                                    Pg 9 of 16


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

    In re:                                                            Chapter 15

    PT DELTA MERLIN DUNIA TEXTILE, et al.,1                           Case No. 19-______
                     Debtors in a Foreign Proceeding.                 (Jointly Administered)


1
  The Foreign Debtors in these chapter 15 cases are the following entities: (i) PT Delta Merlin Dunia Textile, whose
address is Jl Solo - Sragen Km 14, Desa Pulosari, Kec Kebakkramat, Karanganyar, Central Java, (ii) PT Delta Dunia
Tekstil, whose address is Jl Raya Solo - Sragen KM 10.8, Desa Kaling, Kec Tasikmadu, Karanganyar, Central Java,
(iii) PT Dunia Setia Sandang Asli Tekstil, whose address is Jl Raya Palur Km 7.1, Desa Dagen, Kec Jaten,
Karanganyar, Central Java, (iv) PT Delta Merlin Sandang Tekstil, whose address is Jl Raya Timur Km 10, Kel
Bumiaji, Kec Gondang, Sragen, Central Java, (v) PT Delta Dunia Sandang Tekstil, whose address is Jl Raya Semarang
- Demak Km 14, Desa Tambakroto, Kec Sayung, Demak, Central Java, (vi) PT Perusahaan Dagang dan Perindustrian
Damai, whose address is Jl Simongan No 100, Kel Ngemplak Simongan, Kec Semarang Barat, Semarang, Central
Java, and (vii) Mr. Sumitro, whose address is Tegalharjo, RT.004/RW.004, Kelurahan Tegalharjo, Kecamatan Jebres,
Kota Surakarta, Jawa Tengah, Indonesia.

             19.    The Foreign Representative also requests that the Court direct that the following

statement be entered on the docket of each of the Chapter 15 Cases to reflect their joint

administration:

             An order has been entered in this case directing the joint administration of the
             chapter 15 cases of In re PT Delta Merlin Dunia Textile; In re PT Delta Dunia
             Tekstil; In re PT Delta Merlin Sandang Tekstil; In re PT Delta Dunia Sandang
             Tekstil; PT Dunia Setia Sandang Asli Tekstil; In re PT Perusahaan Dagang dan
             Perindustrian Damai; and In re Sumitro. The docket in the chapter 15 case of In re
             PT Delta Merlin Dunia Textile, Case No. 19-[_____ (___)] should be consulted for
             all matters affecting this case.

                                           NO PRIOR REQUEST

             20.    No prior request for the relief sought in this Motion has been made to this or any

other court.

                                                    NOTICE

             21.    Notice of this Motion either by electronic mail, facsimile, or overnight mail to: (a)

the Office of the United States Trustee, (b) all parties authorized to administer foreign proceedings


                                                         9
19-13214-shl     Doc 5     Filed 10/08/19    Entered 10/08/19 12:39:35       Main Document
                                            Pg 10 of 16


of the Foreign Debtors, (c) all parties to any litigation in which any of the Foreign Debtors is a

party and that is pending in the United States as of the commencement of these Chapter 15 Cases,

and (d) all known parties against whom provisional relief is sought as set forth in the statements

of Foreign Representative required by Federal Rule of Bankruptcy Procedure 1007(a)(4)(B),

attached to the Petitions.    Due to the nature of the relief requested herein, the Foreign

Representative submits that no other or further notice is required.




                                                10
19-13214-shl     Doc 5    Filed 10/08/19    Entered 10/08/19 12:39:35        Main Document
                                           Pg 11 of 16


                                        CONCLUSION

       WHEREFORE, the Foreign Representative respectfully requests that the Court enter the

order, substantially in the form annexed hereto as Exhibit A, ordering the joint administration of

these Chapter 15 Cases and granting such other and further relief it deems necessary and

appropriate.


Dated: New York, New York
       October 8, 2019
                                             Respectfully submitted,
                                             GIBSON, DUNN & CRUTCHER LLP

                                             /s/ Matthew J. Williams
                                             Matthew J. Williams
                                             Mitchell A. Karlan
                                             Alan Moskowitz
                                             Dylan S. Cassidy
                                             200 Park Avenue
                                             New York, NY 10166
                                             (212) 351-4000 (Tel)
                                             (212) 351-4035 (Fax)


                                            Counsel to the Foreign Representative




                                               11
19-13214-shl   Doc 5   Filed 10/08/19    Entered 10/08/19 12:39:35   Main Document
                                        Pg 12 of 16


                                    EXHIBIT A
19-13214-shl    Doc 5   Filed 10/08/19    Entered 10/08/19 12:39:35       Main Document
                                         Pg 13 of 16




 In re:

 PT DELTA MERLIN DUNIA TEXTILE,                  Chapter 15

                                                 Case No. 19-_____

               Debtor in a Foreign Proceeding.


 In re:

 PT DELTA DUNIA TEKSTIL,                         Chapter 15

                                                 Case No. 19-_____
               Debtor in a Foreign Proceeding.



 In re:

 PT DELTA MERLIN SANDANG TEKSTIL,                Chapter 15

                                                 Case No. 19-_____
               Debtor in a Foreign Proceeding.



 In re:

 PT DELTA DUNIA SANDANG TEKSTIL,
                                                 Chapter 15

                                                 Case No. 19-__________
               Debtor in a Foreign Proceeding.



 In re:
                                                 Chapter 15
 PT DUNIA SETIA SANDANG ASLI
 TEKSTIL,                                        Case No. 19-_____



               Debtor in a Foreign Proceeding.


                                             1
19-13214-shl        Doc 5      Filed 10/08/19       Entered 10/08/19 12:39:35               Main Document
                                                   Pg 14 of 16



 In re:

 PT PERUSAHAAN DAGANG DAN
 PERINDUSTRIAN DAMAI,                                        Chapter 15

                                                             Case No. 19-_____

                   Debtor in a Foreign Proceeding.



 In re:

 SUMITRO,                                                    Chapter 15

                                                             Case No. 19-_____
                   Debtor in a Foreign Proceeding.


          ORDER DIRECTING JOINT ADMINISTRATION OF CHAPTER 15 CASES

          Upon consideration of the motion by the Foreign Representative in the above-captioned

chapter 15 cases seeking entry of an order, pursuant to section 105(a) of the Bankruptcy Code and

Rule 1015(b) of the Federal Rules of Bankruptcy Procedure, for the joint administration of the

above-captioned Chapter 15 Cases for procedural purposes only (the “Motion”); 1 and the Court

having found that it has jurisdiction to consider the Motion and the relief requested therein in

accordance with 28 U.S.C. §§ 157 and 1334, section 1501 of the Bankruptcy Code and the

Amended Standing Order of Reference from the United States District Court for the Southern

District of New York dated as of January 31, 2012, Reference M-431, In re Standing Order of

Reference Re: Title 11, 12 Misc. 00032 (S.D.N.Y. Feb. 1, 2012) (Preska, C.J.); and consideration

of the Motion and the relief requested therein being a core proceeding pursuant to 28 U.S.C. §

157)(b)(2)(P); and venue of this proceeding being proper before the Court pursuant to 28 U.S.C.



 1 All capitalized terms not otherwise defined in this order shall have the meanings ascribed to them in the Motion.

                                                         2
19-13214-shl        Doc 5      Filed 10/08/19       Entered 10/08/19 12:39:35               Main Document
                                                   Pg 15 of 16


§ 1410; and due and proper notice of the Motion having been provided, and no other or further

notice being necessary; and the Court having reviewed and considered the Motion and the Verified

Petition; and the Court having determined that the legal and factual bases set forth in the Motion

establish just cause for the relief granted herein; and the relief requested in the Motion being in the

best interest of the Foreign Debtors’ estates, their creditors, and other parties in interest; and after

due deliberation and sufficient cause appearing therefor,

IT IS HEREBY ORDERED THAT:

             1.   The Motion is granted as set forth herein.

             2.   The Chapter 15 Cases hereby are consolidated for procedural purposes only and

shall be jointly administered by the Court.

             3.   Pleadings in these Chapter 15 Cases shall be required to bear a caption substantially

in the following form:


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

    In re:                                                            Chapter 15

    PT DELTA MERLIN DUNIA TEXTILE, et al.,1                           Case No. 19-______
                   Debtors in a Foreign Proceeding.                   (Jointly Administered)


1
  The Foreign Debtors in these chapter 15 cases are the following entities: (i) PT Delta Merlin Dunia Textile, whose
address is Jl Solo - Sragen Km 14, Desa Pulosari, Kec Kebakkramat, Karanganyar, Central Java, (ii) PT Delta Dunia
Tekstil, whose address is Jl Raya Solo - Sragen KM 10.8, Desa Kaling, Kec Tasikmadu, Karanganyar, Central Java,
(iii) PT Dunia Setia Sandang Asli Tekstil, whose address is Jl Raya Palur Km 7.1, Desa Dagen, Kec Jaten,
Karanganyar, Central Java, (iv) PT Delta Merlin Sandang Tekstil, whose address is Jl Raya Timur Km 10, Kel
Bumiaji, Kec Gondang, Sragen, Central Java, (v) PT Delta Dunia Sandang Tekstil, whose address is Jl Raya Semarang
- Demak Km 14, Desa Tambakroto, Kec Sayung, Demak, Central Java, (vi) PT Perusahaan Dagang dan Perindustrian
Damai, whose address is Jl Simongan No 100, Kel Ngemplak Simongan, Kec Semarang Barat, Semarang, Central
Java, and (vii) Mr. Sumitro, whose address is Tegalharjo, RT.004/RW.004, Kelurahan Tegalharjo, Kecamatan Jebres,
Kota Surakarta, Jawa Tengah, Indonesia.




                                                         3
19-13214-shl     Doc 5     Filed 10/08/19    Entered 10/08/19 12:39:35       Main Document
                                            Pg 16 of 16


       4.      The consolidated caption satisfies the requirements of section 342(c) of the

Bankruptcy Code in all respects.

       5.      A docket entry shall be made by the Clerk of the Court in each of the above-

captioned cases substantially as follows:

       An order has been entered in this case directing the joint administration of the chapter 15
       cases of In re PT Delta Merlin Dunia Textile; In re PT Delta Dunia Tekstil; In re PT Delta
       Merlin Sandang Tekstil; In re PT Delta Dunia Sandang Tekstil; In re PT Dunia Setia
       Sandang Asli Tekstil; In re PT Perusahaan Dagang dan Perindustrian Damai; and In re
       Sumitro. The docket in the chapter 15 case of In re PT Delta Merlin Dunia Textile, Case
       No. 19-[_____ (___)] should be consulted for all matters affecting this case.

       6.      The Foreign Representative is authorized to (i) utilize a combined service list for

the Foreign Debtors’ jointly administered cases and (ii) send combined notices to creditors of the

Foreign Debtors’ estates and other parties in interest as applicable.

       7.      The Foreign Representative is authorized and empowered to take any actions as

may be necessary and appropriate to implement and effectuate the terms of this order.

       8.      Nothing contained in this Order shall be construed as directing or otherwise

effecting a substantive consolidation of the bankruptcy cases of the Foreign Debtors.

       9.      This Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation of this order.

Dated: New York, New York
       ___________, 2019
                                                  _______________________________________
                                                  UNITED STATES BANKRUPTCY JUDGE




                                                  4
